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 1    AYNUR BAGHIRZADE
      1968 S. Coast Highway #2429
 2    Laguna Beach, CA 92651
 3
      Phone: 619-630-6646
      Email: contact@aynurlawyers.com
 4
      AYNUR BAGHIRZADE, IN PRO SE
 5

 6

 7
                         UNITED STATES DISTRICT COURT FOR THE
 8

 9                          SOUTHERN DISTRICT OF CALIFORNIA

10

11
        AYNUR BAGHIRZADE, an individual,         )    Case No.: 24CV1077 RSH MMP
12                                               )
                                Plaintiff,       )    OPPOSITION TO DEFENDANTS
13                                               )    YELP INC. AND JEREMY
               vs.                               )    STOPPELMANÕS MOTION FOR
14                                               )    DISMISSAL PURSUANT TO F.R.C.P.
        ARMENIAN NATIONAL COMMITTEE              )    RULE 12(B)(6); MEMORANDUM OF
15      OF AMERICA, A NON-PROFIT                 )    POINTS AND AUTHORITIES
16
        CORPORATION, et al.                      )
                                                 )    [Filed concurrently with Declaration of
17                                               )    Aynur Baghirzade; Exhibits; Proposed
                                                 )    Order, and Certificate of Service]
18                              Defendants.      )
                                                 )
19                                               )
                                                 )    Date: 10/14/2024
20                                               )    Place: 3B-3rd Floor (Rm# 3142)
21                                               )
                                                 )    Presiding Judge: Hon. Robert Huie
22                                               )
                                                 )    Magistrate Judge: Hon. Michelle M. Petit
23                                               )
                                                 )
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 1                                           I. INTRODUCTION
 2

 3           Plaintiff and everyone else in his protected class of US citizens or permanent residents
 4
      have a right to be free of public corruption, antitrust violations, and racketeering by false actors.
 5
             Defendants Yelp Inc., Jeremy Stoppelman are only two of around 20 Defendants Plaintiff
 6
      currently sues in this court. The real number of Defendants are much more than stipulated in the
 7
      complaint brought before Southern District of California in June 21, 2024, the magnitude of the
 8
      attack on Plaintiff's personality, life, health, finances and her business is paramount. Plaintiff in
 9
      fact considers bringing even more Defendants to this lawsuit, but is concerned that she will not
10
      be able to handle too many Defendants as she is left alone to fight enormous enterprise formed
11
      against her with the sole purpose to destroy her mentally, financially and even physically. Defen-
12
      dant Yelp Inc., and Jeremy Stoppelman now claim that they have no relationship to the Enter-
13
      prise and that they have defense of Section 230 of Communication Decency Act (CDA), shield-
14
      ing them from everything, including crime. Both Defendants are wrong. Besides, Defendants
15
      clearly do not understand that the lawsuit brought against them is not a simple negligence claim,
16
      is not a simple civil lawsuit, they are sued as a part of much bigger enterprise. Motion to dismiss
17
      is based on plausible, completely speculative arguments, allegations that complaint is ÒmissingÓ
18
      facts are completely wrong, as facts were pleaded sufficiently and Plaintiff was not required un-
19
      der the Law to enclose any evidence at the stage of drafting her complaint.
20

21

22                          II. FACTUAL & PROCEDURAL BACKGROUND

23

24           In September 1984, a research paper prepared by the The Global Terrorism: Justice
25
      Commandos of Armenian Genocide was issued. The paper was prepared by Terrorism Analysis
26
      Branch, Instability and Insurgency Center, Office of Global Issues, Information about the United
27
      States was provided and coordinated by the Federal Bureau of Investigation - ¦ 8, First Amended
28
      Complaint (FAC). The research paper states, Òthe Justice Commandos of the Armenian Geno-
      OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS MOTION FOR DISMISSAL
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 1
      cideÓ (JCAG) is a very efficient terrorist organization whose meticulous planning has allowed it
 2
      to attack Turkish interests worldwide with virtual impunity. From its inception in 1975, JCAG
 3
      has shunned connections to other terrorist groups or patron statesÉÓ , See Exh. A. Then the paper
 4

 5    states ÒThe Justice CommandosÕ parent organization, the Armenian Revolutionary Federation

 6    (ARF), is in competition with the other major Armenian terrorist group, the Marxist Armenian
 7    Secret Army for the Liberation of Armenia (ASALA)ÓÉ Id. Further the paper gives a glimpse of
 8    the history of the Armenian terrorism. It states that ÔModeled on Russian nihilist organizations -
 9
      which advocated the use of intimidation, terror, assassination - these paramilitary groups evolved
10
      into well-trained soldiery, influenced strongly by the revolutionary ideas promulgated by Russian
11
      social democratsÕ, Id. Further the research paper articulates how ARF organized fedayihs and
12
      carried out operation Nemesis for the sake of Armenian genocide. It says that Òwhile officially
13

14
      sanctioned by the ARF, these attacks were blood -feud killings carried out by Armenian assas-

15    sinsÓÉ. Killings happened worldwide, some of the most remarkable killings happened in Cali-

16    fornia, including assassination of Turkish consul in Santa Barbara by Gourgen Yanikian, when
17    the consul was lured into Biltmore hotel in Santa Barbara and then shot there back in 1973. Id.
18           Plaintiff further mentioned in her complaint that she is confused as to the incorporation
19
      status of Defendant ANCA , ¦ 2, FAC. In February 18, 2009, Citizens for Responsibility and
20
      Ethics in Washington D.C. sent their research letter to U.S. Attorney General and Commissioner
21
      of Internal Revenue in Internal Revenue Service, where they articulated that Defendants ANCA,
22
      ANCAWR as well as ARF are engaged in prohibited political activity by violating their non-
23

24
      profit status as well as by violating the Foreign Agents Registration Act, and by violating of the

25    Lobbying Disclosure Act, See Exh. B. Though the purpose of the paper was to show that these

26    organizations were engaged in lobbying activities without proper registration, the paper has a
27    good evidence and facts showing what Defendant ANCA and ANCAWR present of themselves.
28    It states ÒEvidence suggests that ANCA is an agent, indeed an inseparable part, of ARF, yet it

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 1
      has failed to register under FARA or to make required disclosures in disseminating
 2
      information.Ó, Id. The letter further states that Òfor example, in the October 22, 2005 issue of the
 3
      Armenian Weekly, Hayg Oshagan, then Chairman of the Central Committee of the ARF for the
 4

 5    Eastern Region of the United States, elaborated on the ANCA agency relationship: É. ÒIn the

 6    diaspora, the effort is aimed towards Genocide recognition effortsÉ Our political work is pur-
 7    sued by every member of the ARF, and I organized at the local level by our Gomidehs and Ar-
 8    menian National Committee chapters.Ó , at Id. Mr. Oshagan further declared, ÒAnd so we have
 9
      the Hairenik Building, the Hairenik newspaper, the Armenian Weekly, the Armenian National
10
      Committee of America, the local Armenian National Committee Chapters, the local Armenian
11
      Revolutionary Federation Chapters, the Armenian Youth Federation, the Armenian Relief Soci-
12
      etyÉ. Ó, Id. The letter further states that there is a link between Defendants ANCA and AN-
13

14
      CAWR leadership and terrorist acts. It states that Òthe ARFÕs governing body is the ARF Bureau,

15    which is composed of 11 members, elected at the ARF World Congress, the most recent of

16    which was held may 21-26, 2008 in YerevanÉ. Viken Hovsepian, for example, once convicted
17    of conspiring to destroy a Turkish consulate in Philadelphia, but now a U.S. citizen (U.S. v. Hov-
18    sepian, 422 F.3d 883 (9th Cir. 2005)), is a member of the ARF Bureau, the highest executive
19
      body of the party.. Ó, Id. Further, the letter urges that the Department of Justice should open a
20
      criminal inquiry into the failure of ANCA and its individual employeesÕ persistent evasion of
21
      FARA compliance. , Id.
22
             On or around July 21, 2020, DEFENDANT ANCAWR organized a demonstration of Ar-
23

24
      menians near Azerbaijan consulate in Los Angeles. More than 300 Armenians attacked a group

25    of people of around 30 Azerbaijanis. Group of Azerbaijanis called for the help to Los Angeles

26    sheriff, ethnically Azerbaijani Fakhri Mirzaguliyev. Fakhri Mirzaguliyev organized buses and
27    departure of the Azerbaijanis from the area close to the consulate. Many Azerbaijanis were beat-
28    en, got severe damages, some of them ended up in hospitals with longstanding bone fractures

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 1
      and other damages. After this incident, a group of Armenians with intent to defraud by using mail
 2
      and wire sent numerous complaints to Los Angeles Police Department about officer Fakhri
 3
      Mirzaguliyev demanding his resignation, all of those complaints investigation proved to be false
 4

 5    and defamatory, ¦ 6, FAC, ¦ 3, Declaration of Aynur Baghirzade.

 6           In November 4, 2020, group of Armenians attacked family owned Turkish restaurant in
 7    Los Angeles, they Óstormed inside, threw hard wooden chairs at the victims, smashed glassware,
 8    destroyed a plexiglass barrier, and overturned tables.Ó Later two of them were indicted for hate
 9
      crimes (Case USA v. Stepanyan, et al., # 2:21-cr-00188), ¦ 6, FAC.
10
             In 2022, DEFENDANTS ANCA and ANCAWR with intent to defraud targeted Doctor
11
      Mehmet Oz during his election campaign to U.S. Senate. Before launching a smear campaign
12
      against Dr. Oz DEFENDANT ANCA and ANCAWR several times using wire asked him by tag-
13

14
      ging his Twitter account whether he recognizes Armenian genocide or not. After getting no re-

15    sponse from Dr. Oz, DEFENDANTS ANCA and ANCAWR started calling different ethnic

16    groups not to vote for Doctor Oz and give their voices to another candidate. DEFENDANTS
17    ANCAÕs and ANCAWRÕs arguments in launching this outrageous campaign was based specifi-
18    cally on its racist agenda and goals, and had nothing to do with anything else, ¦¦ 6,7, FAC, ¦¦
19
      3,4, Declaration of Aynur Baghirzade.
20
             On several occasions PLAINTIFF noticed how DEFENDANTS ANCA and ANCAWR
21
      with intent to defraud and using wire targeted Azerbaijani and Turkish businesses in the United
22
      States, by encouraging people to demand from the U.S. businesses to stop selling Turkish and
23

24
      Azerbaijani goods, because those countries are ÒgenocidalÓ. Turkish and Azerbaijani owners of

25    the businesses throughout U.S. and in California report that their business accounts at Yelp and

26    Google were shelled with negative reviews, when in 2020 a war started between Azerbaijan and
27    Armenia, ¦ 7, FAC.
28


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 1
             Plaintiff also alleged in the complaint that DEFENDANTS ANCA and ANCAWR use
 2
      DEFENDANT YELP platform to harass Azerbaijani and Turkish business owners, whose views
 3
      they do not like in order to suppress their speech in the United States. YELP is also used against
 4

 5    those business owners who dared not to recognize Armenian Genocide. Thus, presumably an

 6    Armenian account under the name goliath.the.great in the Instagram targeted a Sacramento busi-
 7    ness, because his owner openly suggested that he does not believe in Armenian genocide. Imme-
 8    diately afterwards, goliath.the.great using wire and with the intent to defraud public asked his
 9
      community to leave this business Ògreat reviewsÓ on YELP. After getting multiple negative re-
10
      views in his business account the owner of the business, stressed and lost, apologized in Insta-
11
      gram. Goliath.the. great didnÕt stop on this business ownerÕs apology, but asked him to donate to
12
      the Armenian genocide cause, which the latter did, and only afterwards all negative reviews were
13

14
      deleted from his business account, ¦ 7, FAC, See also Exh. C .

15           The person with the same picture as in this instagram account later left a threat at Plain-

16    tiffÕs Yelp account, which was kept by Defendant Yelp Inc., for significantly long time despite
17    her requests to remove it along with inappropriate picture of her in violation of her copyright and
18    privacy rights, ¦ 5, Declaration of Aynur Baghirzade.
19
             In particular, FAC states a lot facts about YelpÕs actions. Defendants Yelp Inc., and Jere-
20
      my Stoppelman need to read the FAC (particularly its General Allegations part very carefully - ¦
21
      13, 3:28,¦ 14, 1:28, ¦ 15, 21:28, ¦ 16, 1:28, ¦ 17, 1:24 ). Plaintiff clearly do not understand alle-
22
      gations of Defendant Yelp Inc., and Jeremy Stoppelman that the FAC is ÒmissingÓ facts while all
23

24
      facts were pleaded very carefully. Plaintiff also enclose with this opposition Exhibits confirming

25    her allegations in FAC - See Exh. A- N, but in no case those evidence shall be considered sepa-

26    rately from other facts alleged in the Complaint, because Yelp Inc. and Jeremy Stoppelman were
27    only part of the Enterprise.
28


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 1
             Particularly, Defendant Yelp Inc.Õs staff was engaged primarily in defrauding public not
 2
      as a publisher, but as a content creator by sending her at least two formerly removed fake re-
 3
      views with new date but with PlaintiffÕs past dated comments under them, ¦ 5, Declaration of
 4

 5    Aynur Baghirzade, See also Exh. J.

 6           Defendant Yelp IncÕs staff also violated its own Terms and Conditions when back in Jan-
 7    uary 2024 refused to close her account despite her requests, intentionally left it open, after which
 8    another two fake reviews were placed in PlaintiffÕs account and were left there despite her
 9
      protests, ¦¦ 13, 14, FAC, ¦ 5, Declaration of Aynur Baghirzade.
10
             Defendant Yelp Inc. violated its own Terms and Conditions again when after her request
11
      to close her account they changed the name of her business without her permission from Law
12
      Offices of Aynur Baghirzade to the new Accura Law Firm, locked her account by not allowing
13

14
      her to make any changes and by constantly removing all positives reviews about her business to

15    make sure that they satisfy demands of the Armenian Enterprise and her business has a poor rat-

16    ing, ¦ 17, FAC.
17           On June 21, 2024 Plaintiff filed her complaint, on August 15, 2024, Plaintiff filed her
18    FAC.
19

20
                         III. LEGAL STANDARD FOR MOTION TO DISMISS
21

22
                     1. Ninth Circuit is hostile to 12(b)(6) Motions for Failure to State Claim
23

24

25           The Ninth Circuit is particularly hostile to motions to dismiss for failure to state a claim.

26    ÒThe federal rules require only a Òa short and plain statement of the claim showing that the
27    pleader is entitled to relief.Ó Fed.R.Civ.P 8 (a). The Rule 8 standard contains "a powerful pre-
28    sumption against rejecting pleading for failure to state a claim.Ó (Auster Oil Gas, Inc. v. Stream,

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 1
      764 F.2d 381, 386 (5th Cir. 1985); see also Hall v. City of Santa Barbara, 833 F.2d 1270, 1274
 2
      (9th Cir. 1986) (ÒIt is axiomatic that Ôthe motion to dismiss for failure to state a claim is viewed
 3
      with disfavor and is rarely granted.Ó).
 4

 5           The Supreme Court has explained that Ôit may appear on the face of the pleading that a

 6    recovery is very remote and unlikely but that is not the test.Ò (Scheur v. Rhodes, 416 U.S. 232,
 7    236, 94 S. St. 1683, 1686, 40 L.Ed.2d90 (1974)). In reviewing the sufficiency of a complaint,
 8    Òthe issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled to
 9
      offer evidence to support the claims.Ó (Gilligan v. Jamco Development Corporation, 108 F.3d
10
      246, 248-49 (9th Cir. 1997).
11
             Dismissal is improper unless Òit appears beyond doubt that the plaintiff can prove no set
12
      of facts in support of his claim which would entitle him to relief.Ó (Gibson v. United States, 781
13

14
      F.2d 1334, 1337 (9th Cir. 1986) (quoting Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99, 101-

15    02, 2 L.Ed.2d 80 (1957).). Under Federal Rules of Civil Procedure 8 (a)(2), a complaint must

16    contain a Òshort and plain statement of the claim showing that the pleader is entitled to relief.Ó
17    ÒDetailed factual allegations are not required, Twombly, 550 U.S., at 555, 127 S.Ct. 1955, but the
18    Rule does not call for sufficient factual matter, accepted as true, to Òstate a claim to relief that is
19
      plausible on its placeÓ, id., at 570, 127 S.Ct. 1955. A claim has facial plausibility when the plead-
20
      ed factual content allows the court to draw the reasonable inference that the plaintiff is entitled to
21
      relief for the misconduct alleged. Id., at 556, 127 S.Ct. 1955. Two working principles underlie
22
      Twombly. First, the tenet that a court must accept a complaintÕs allegations as true is inapplicable
23

24
      to threadbare recitals of a cause of actionÕs elements, supported by mere conclusory statements.

25    Id., at 555, 127 s.ct. 1955. A court considering the motion to dismiss may begin by identifying

26    the allegations that, because they are mere conclusions, are not entitled to assumption of truth.
27    While legal conclusions can provide the complaintÕs framework, they must be supported by fac-
28    tual allegations. When there are well pleaded factual allegations, a court should assume their ve-

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 1
      racity and then determine whether they plausible give rise to an entitlement to relief. (Ashcroft v.
 2
      Iqbal, 556 U.S. 662, 663-64 (2009).).
 3

 4

 5           Allegations against Defendants Yelp Inc., and Jeremy Stoppelman are supported by the

 6    facts in the FAC, FAC specifically refers to the timeframe when each incident occurred and ac-
 7    tions of the Defendants. See also Factual & Procedural part of the present Opposition. Allega-
 8    tions of the Plaintiff are not merely conclusory for the Court to dismiss the case, and neither De-
 9
      fendant Yelp inc., nor Jeremy Stoppelman is entitled to be relieved from responsibility. More-
10
      over, facts cited in the FAC concerning specifically actions of Defendants Yelp Inc., and Jeremy
11
      Stoppelman canÕt be considered separately from the facts alleged against other Defendants be-
12
      cause all Defendants acted as one big Enterprise to ruin PlaintiffÕs reputation and business, every
13

14
      fact in the Complaint adds to another and supports another. The entire FAC is full of facts sug-

15    gesting that Yelp Inc. and Jeremy Stoppelman were a part of the Enterprise.

16

17                                            IV. ARGUMENTS
18

19
             A.      Neither Defendant Yelp Inc., nor Defendant Jeremy Stoppelman has protec-
20
      tion of Section 230 of CDA as the PlaintiffÕs claims arise from criminal law.
21

22
                     Section 230 c(1) of CDA states: ÒNo provider or user of an interactive computer
23
      service shall be treated as the publisher or speaker of any information provided by another in-
24
      formation content provider.Ó 47 USCS ¤ 230. Section 230 c(2)(a) of CDA states: ÒNo provider or
25
      user of an interactive computer service shall be held liable on account any action voluntarily tak-
26
      en in good faith to restrict access to or availability of material that the provider or user considers
27
      to be obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,
28
      whether or not such material is constitutionally protected.Ó Id. Section 230 e (1) of CDA states
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 1    further: ÒNo effect on criminal law. Nothing in this section shall be construed to impair the en-
 2    forcement of section 223 or 231 of this Act [47 USCS ¤ 223 or 231], chapter 71 (relating to ob-
 3    scenity) or 110 (relating to sexual exploitation of children) of title 18, United States Code 18
 4
      USCS ¤¤ 1460 et seq. or ¤¤ 2251 et seq.], or any other Federal criminal statute.Ó Id.       ÒThe
 5
      Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.S. ¤¤1961-1968, is
 6
      founded on the concept of racketeering activity. The statute defines Òracketeering activityÓ to en-
 7
      compass dozens of state and federal offenses, known in RICO parlance as predicates. These
 8
      predicates include any act ÒindictableÓ under specified federal statutes, 18 U.S.C.S. ¤1961(1)(B)-
 9
      (C), (E)-(G), as well as certain crimesÒchargeableÓ under state law, ¤ 1961(1)(A), and any of-
10
      fense involving bankruptcy or securities fraud or drug-related activity that is ÒpunishableÓ under
11
      federal law, ¤1961(1)(D). A predicate offense implicates RICO when it is part of a Òpattern of
12
      racketeering activityÓ--a series of related predicates that together demonstrate the existence or
13
      threat of continued criminal activity.Ó (RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090,
14
      195 L. Ed. 2d 476 (2016)).
15

16           Defendants Yelp Inc. and Jeremy Stoppelman were no sued for civil remedies based on
17    violations of their Terms and Conditions, they were not even sued specifically for tort, they were
18    sued for engaging in the pattern of racketeering activity, for the organized crime to ruin Plain-
19
      tiffÕs business, to affect her wellbeing, finances and to terrorize her into submission to the needs
20
      of the Armenian Enterprise. Defendants Yelp Inc. and Jeremy Stoppelman are either not aware
21
      for what they were sued or pretend that their actions were ÒinnocentÓ editorial decisions in Ògood
22
      faithÓ (!), and thatÕs why they are entitled to protection of Section 230 of CDA. Section 230 of
23

24
      CDA was not enacted by the Congress to protect criminal activity of the Enterprise, it was enact-

25    ed to allow interactive computer providers to feel free to remove inappropriate content from the

26    internet in good faith.
27

28


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 1
             B. Each act of the Defendants Yelp Inc. and Jeremy Stoppelman was not an innocent
 2
      editorial decision, instead it was a predicate act of wire fraud, intentional and deliberate to
 3
      defraud public and damage PlaintiffÕs reputation and business.
 4

 5

 6           "A violation of ¤ 1962(c) requires to show (1) conduct (2) of an enterprise (3) through a
 7    pattern (4) of racketeering activity.Ó (UMB Bank v. Guerin, 89 F.4th 1047 (8th Cir. 2024). ÔWe
 8    have said that the predicate acts of mail and wire fraud "occur when a person (1) intentionally
 9
      participates in a scheme to defraud another of money or property and (2) uses the mails or wires
10
      in furtherance of that scheme." (Wayne Johnson for Cong., Inc. v. Hunt, 2024 U.S. App. LEXIS
11
      2850, 2024 WL 471938). ÒUnder the mail and wire fraud statutes, a plaintiff only can show a
12
      scheme to defraud if he proves that some type of deceptive conduct occurredÓ, Id. Such decep-
13

14
      tive conduct includes "knowingly making false representations," Òconcealing material facts," and

15    making statements "with reckless indifference to their truth or falsity." (United States v. Sawyer,

16    799 F.2d 1494, 1502 (11th Cir. 1986) .
17

18           Defendants Yelp Inc., and Jeremy Stoppelman via their staff were put on notice that
19
      PlaintiffÕs business page gets shelled regularly because she is persecuted because of her political
20
      views, race, national origin, ancestry and etc., they were aware that a business owner canÕt get
21
      around 50-60 reviews for his business activity within 1 or two days, that people were placing in
22
      her account accusations not related to her business or her activity as a lawyer, they were aware
23

24
      that all these people have never been her clients, but still chose to keep those reviews despite

25    PlaintiffÕs multiple requests to remove them. Moreover, Defendant Yelp Inc. accurately deleted

26    those reviews which were claiming that she is a racist while keeping those alleging that they
27    were her customers and got cheated. Defendants Yelp Inc. and Jeremy Stoppelman intentionally
28    didnÕt close her business page when she requested them to do so in violation of their own TOS,

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 1
      so that Armenian Enterprise continues shelling her business page with absurd reviews in the hope
 2
      to chase her into silence. Defendant Yelp Inc. employees used wire each time when they refused
 3
      to delete outrageous reviews and pictures in her business account. Each email sent by Defendant
 4

 5    Yelp Inc. was a predicate act of wire fraud for the purposes of RICO statute. Moreover, each act

 6    of Yelp Inc. placing in her business account formerly removed reviews with past dated comments
 7    was an independent predicate act of wire fraud to fulfill the expectations of the Enterprise to si-
 8    lence her and damage her reputation and business.
 9

10
             C. Plaintiff has no burden under RICO statute to prove conspiracy once pattern of
11
      racketeering activity is established contrary to allegations of Defendant Yelp Inc. and Je-
12
      remy Stoppelman.
13

14

15           Ò The RICO conspiracy statute, simple in formulation, provides: "It shall be unlawful for

16    any person to conspire to violate any of the provisions of subsection (a), (b),or (c) of this
17    section." 18 U.S.C. ¤ 1962(d). There is no requirement of some overt act or specific act in the
18    statute before us, unlike the general conspiracy provision applicable to federal crimes, which
19
      requires that at least one of the conspirators have committed an "act to effect the object of the
20
      conspiracy." ¤ 371. The RICO conspiracy provision, then, is even more comprehensive than the
21
      general conspiracy offense in ¤ 371Ó. (Salinas v. United States, 522 U.S. 52, 118 S. Ct. 469, 139
22
      L. Ed. 2d 352 (1997). ÒA conspiracy may exist even if a conspirator does not agree to commit or
23

24
      facilitate each and every part of the substantive offenseÉ.The partners in the criminal plan must

25    agree to pursue the same criminal objective and may divide up the work, yet each is responsible

26    for the acts of each other.Ó Id. ÒSo, conspiracy to violate subsection (c) requires proof that the
27    defendant knew about and agreed to facilitate "the conduct of an enterprise's affairs through a
28


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 1
      pattern of racketeering activity.Ó (United States v. Larios-Villatoro, No. 16-20194 (5th Cir. Nov.
 2
      1, 2018)
 3

 4

 5           In the present case Plaintiff has no obligation to prove conspiracy since Defendants Yelp

 6    Inc. and Jeremy Stoppelman were engaged in the pattern of racketeering activity themselves, by
 7    committing various wire fraud, by deliberately not fulfilling PlaintiffÕs request to close her busi-
 8    ness page and leaving it open for future attacks by the Enterprise, by extorting money from the
 9
      Plaintiff to close her business page. Defendants knew very well that Plaintiff is persecuted be-
10
      cause of her speech, national origin, ancestry but chose to join the Enterprise in damaging her
11
      reputation and finances by committing multiple acts of fraud. Since Plaintiff successfully estab-
12
      lished a conduct of the enterprise through a pattern of racketeering activity, she has no obligation
13

14
      to show conspiracy since its already clear that Defendants were engaged in it.

15

16           D. Plaintiff successfully showed several patterns of racketeering activity committed
17    by the Defendants.
18

19
             1. Plaintiff successfully showed that Defendants were engaged in the pattern of racketeer-
20
      ing activity by committing wire fraud.
21

22
             See analysis under Arguments Section B of the present Opposition.
23

24

25           2. Defendants were engaged in the pattern of racketeering activity by terrorizing civilian

26    population into the needs of Armenian Enterprise (terrorism).
27

28           ÒÉ.the term Òinternational terrorismÓ means activities thatÑ

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 1    (A) involve violent acts or acts dangerous to human life that are a violation of the criminal laws
 2    of the United States or of any State, or that would be a criminal violation if committed within the
      jurisdiction of the United States or of any State;
 3
      (B) appear to be intendedÑ
 4    (i) to intimidate or coerce a civilian population;
      (ii) to influence the policy of a government by intimidation or coercion; or
 5
      (iii) to affect the conduct of a government by mass destruction, assassination or kidnapping;
 6    and
 7
      (C) occur primarily outside the territorial jurisdiction of the United States, or transcend national
      boundaries in terms of the means by which they are accomplished, the persons they appear
 8    intended to intimidate or coerce, or the locale in which their perpetrators operate or seek
 9    asylum.Ó 18 USCS ¤ 2331

10          Chapter 113 B (Sections 2331 - 2339D ) of RICO refers terrorism to predicate acts. 18
11    USCS ¤ 2331- 2339D.
12

13           Plaintiff pleaded enough facts both in her Complaint and in the present Opposition on
14    how Defendants ANCA and ANCAWR are related to the terrorist groups, especially ARF. Plain-
15
      tiff also pleaded enough facts showing that ARF operates not only in the United States, but also
16
      internationally with its offices in Armenia and other countries. Plaintiff pleaded enough facts
17
      showing how ARF was responsible for commission of certain terror acts throughout the history
18
      both in the United States and abroad, and that Defendants ANCA and ANCAWR are governed by
19
      ARF. Plaintiff pleaded enough facts showing that smear campaigns are organized by Defendants
20

21    ANCA and ANCAWR to terrorize people into their needs. In fact, Defendants ANCA and AN-

22    CAWR needed PlaintiffÕs disbarment and damaged reputation so that nobody in the public be-
23    lieves her opinion, since they couldnÕt stop her from speaking - this is particularly why they
24    needed Defendants Yelp Inc. and Jeremy Stoppelman to engage into fraudulent activity of tar-
25
      nishing her reputation, Defendants Yelp Inc. and Jeremy Stoppelman became a part of the horri-
26
      ble terror network, and they canÕt now claim that their actions were Òinnocent editorial reviews",
27
      their acts were deliberate, intentional and malicious.
28


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 1
             E. Defendants Yelp Inc. and Jeremy Stoppelman have no protection of Section 230
 2
      of CDA because they allowed copyright infringement and invasion of PlaintiffÕ Privacy
 3
      Rights.
 4

 5

 6           Section 230 (e)(2) of CDA specifically excludes application of the section on Intellectual
 7    Property Law. It states specifically Ò No effect on intellectual property law. Nothing in this sec-
 8    tion shall be construed to limit or expand any law pertaining to intellectual property.Ó 47 USCS ¤
 9
      230. ÒWe therefore hold that the intellectual property exception contained in ¤ 230(e)(2) encom-
10
      passes claims pertaining to an established intellectual property right under federal law, like those
11
      inherent in a patent, copyright, or trademark.Ó (Enigma Software Grp. USA, LLC v. Malware-
12
      bytes, Inc., 946 F.3d 1040 (2019)
13

14
             Defendant Yelp inc. was informed that people were placing in the PlaintiffÕs business ac-

15    count inappropriate pictures of her, they took her business picture from the internet and by the

16    way of multiple manipulations distorted it and placed on YelpÕs platform. One of those pictures
17    was placed as a main profile picture (See Exh. I ) was inappropriately distorted and was in fact
18    obscene. However, Yelp Inc. didnÕt remove this picture for quite significant period of time. For
19
      about two or three months this picture was displayed as a main profile picture of her business on
20
      the platform to horribly damage, intimidate and harass her. Yelp Inc. now claims that it has a
21
      right to edit reviews in good faith and may allow whatever it wishes to stay on its platform. By
22
      allowing copyright infringement of the plaintiff on her own picture and invasion of her privacy
23

24
      rights Defendant Yelp Inc. and Jeremy Stoppelman canÕt claim now protection of Section 230 of

25    CDA.

26

27           F. Defendants Yelp Inc. and Jeremy Stoppelman do not have protection of Section
28    230 of CDA because they were not publishers, but content creators.

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 1
             ÒNotwithstanding that broad construction of section 230, Òan interactive computer service
 2
      provider only has immunity if it is not also the information content providerÑthat is, someone
 3
      Ôresponsible, in whole or in part, for the creation or developmentÕ of the content at issue.Ó (Woz-
 4

 5    niak v. YouTube, LLC, 319 Cal. Rptr. 3d 597, 100 Cal.App.5th 893 (Cal. Ct. App. 2024) ÒPas-

 6    sively displaying content Ôcreated entirely by third partiesÕ renders the operator only a service
 7    provider with respect to that content.Ó Id. ÒBut as to content that it creates itself, or is Òresponsi-
 8    ble, in whole or in partÓ for creating or developing, the website is also a content provider.Ó Id.
 9
      ÒThus, a website may be immune from liability for some of the content it displays to the public
10
      but be subject to liability for other content.ÕÓ Id. A website creates or develops content Òby mak-
11
      ing a material contribution to its creation or development.Ó (Kimzey v. Yelp, Inc. (9th Cir. 2016)
12
      836F.3d 1263, 1269 (Kimzey).) ÒA Òmaterial contributionÓdoes not refer to Òmerely ... augment-
13

14
      ing the content generally, but to materially contributing to its alleged unlawfulness.Ó (Wozniak v.

15    YouTube, LLC, 319 Cal. Rptr. 3d 597, 100 Cal.App.5th 893 (Cal. Ct. App. 2024).

16

17           At least on two occasions Yelp Inc.Õ staff contributed to the creation of the defamatory
18    content about the Plaintiff. On June 21, 2023, Defendants placed in PlaintiffÕs account a former-
19
      ly removed review as a new one with past dated comment of the Plaintiff under them, ¦ 5, Dec-
20
      laration of Aynur Baghirzade, See also Exh. J. The same Yelp Inc. did on October 10, 2023,
21
      when it placed formerly removed review of someone named Dav M. into PlaintiffÕs account. See
22
      Exh. J. Formerly removed reviews appeared as new with new date but with old dated comments
23

24
      under them. Third party couldnÕt place its formerly removed review in such a way at the plat-

25    form, it was clearly done by Yelp Inc.Õs staff, and now arguing that Yelp Inc. was engaged only in

26    editorial activity is absolutely baseless. Yelp Inc. contributed to the defamatory content and was a
27    content creator, therefore Section 230 of CDA does not shield Yelp Inc. or Jeremy Stoppelman
28    from defamation and other causes of action pleaded in the FAC.

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 1

 2
             G. Defendants Yelp Inc. and Jeremy Stoppelman do not have protection of Section
 3
      230 of CDA because they violated their own TOS.
 4

 5

 6           ÒA state claim may not be barred by the CDA where Òthe duty the defendant allegedly
 7    violated springs from a contractÑan enforceable promiseÑnot from any non-contractual con-
 8    duct or capacity of the defendantÓ as a publisher.Ó (Prager University v. Google LLC,85 Cal.
 9
      App. 5th 1022; 301 Cal. Rptr. 3d 836 (2022).
10

11
             Section 14 of Yelp Inc.Õs TOS makes it clear that the user can terminate the Terms at any
12
      time by closing its account. TOS is a contract in terms of the federal and state law between user
13

14
      and interactive computer provider. Yelp Inc. violated this promise under the contract when back

15    in January, 2024, refused to close PlaintiffÕs account, left it open with the intent to further harass

16    plaintiff by allowing Enterprise to place there fake negative reviews. TOS has no provision that
17    Plaintiff had to pay an invoice in order for her account to be closed by Defendant. Besides, vio-
18    lating its own TOS Yelp Inc. also was engaged in extortion.
19

20
             H. Defendants Yelp inc. and Jeremy Stoppelman do not have protection of Section
21
      230 of CDA because they acted not in good faith as it was required by the Statute and by
22
      their own TOS.
23

24

25           ÒCongress expressly provided that the CDA aims Òto preserve the vibrant and competitive

26    free market that presently exists for the Internet and other interactive computer services" and to
27    Òremove disincentives for the development and utilization of blocking and filtering
28    technologies." ¤ 230(b)(2)-(3). Congress said it gave providers discretion to identify objection-

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 1
      able content in large part to protect competition, not suppress it.Ó Id. In other words, Congress
 2
      wanted to encourage the development of filtration technologies, not to enable software develop-
 3
      ers to drive each other out of business.Ó (Enigma Software Grp. USA, LLC v. Malwarebytes,
 4

 5    Inc., 946 F.3d 1040, 1040 (2019 ).ÒThe implied promise of good faith and fair dealing requires

 6    each contracting party to refrain from doing anything to injure the right of the other to receive
 7    the benefits of the agreement.Ó (Avidity Partners, LLC v. State, 221 Cal.App.4th 1180, 165 Cal.
 8    Rptr. 3d 299 (Cal. Ct. App. 2014) Ò..in a promissory estoppel case, as in any other contract case,
 9
      the duty the defendant allegedly violated springs from a contractÑan enforceable promiseÑnot
10
      from any non-contractual conduct or capacity of the defendant.Ó (Calise v. Meta Platforms, Inc.,
11
      103 F.4th 732 (9th Cir. 2024). Section 230 c (2)(a) of CDA states: ÒNo provider or user of an
12
      interactive computer service shall be held liable on account any action voluntarily taken in good
13

14
      faith to restrict access to or availability of material that the provider or user considers to be ob-

15    scene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,

16    whether or not such material is constitutionally protected.Ó47 USCS ¤ 230. Section 7 B (ii) of
17    Yelp Inc.Õs TOS requires that every user has to make a representation that he will not Òpost any
18    fake or defamatory review, trade reviews with others, or compensate someone or be compensated
19
      to post, refrain from posting, or remove a review.Ó
20

21
             Yelp Inc. and its founder Jeremy Stoppelman didnÕt act in good faith when they kept
22
      defamatory reviews on PlaintiffÕs business account while diligently removing all positive re-
23

24
      views of her clients. Besides, the positive reviews removed by Yelp Inc. contrary to its TOS were

25    not Òobscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionableÓ

26    - Yelp inc. and Jeremy Stoppelman had no justification in doing so. Defendants Yelp Inc. and Je-
27    remy Stoppelman acted with open malice when they didnÕt close PlaintiffÕs account despite her
28    request and in contrary with their own TOS. Both Defendants ignored that based on their own

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 1
      TOS they had to act with good faith, instead their actions were intentional, malicious and aimed
 2
      to destroy PlaintiffÕs business and harass her emotionally and psychologically. As it was outlined
 3
      before in this Opposition both Defendants were engaged in terrorism by Òintimidating and coerc-
 4

 5    ing civilian populationÓ to the needs of the Armenian Enterprise.

 6

 7           I. PlaintiffÕs Claim for Conspiracy Pursuant to Section 1 of the Sherman & Clayton
 8    Act was Sufficiently Pleaded in The Complaint.
 9

10
             ÒIn the context of antitrust conspiracy claims, plaintiffs may meet their burden by alleg-
11
      ing parallel conduct among competitors and certain "plus factors" suggesting a
12
      conspiracy.Ó (Frost v. LG Elecs., Inc.,801 Fed. Appx. 496, 497 (9th Cir. 2020). Ò The RICO con-
13

14
      spiracy statute, simple in formulation, provides: "It shall be unlawful for any person to conspire

15    to violate any of the provisions of subsection (a), (b),or (c) of this section." 18 U.S.C. ¤ 1962(d).

16    There is no requirement of some overt act or specific act in the statute before us, unlike the gen-
17    eral conspiracy provision applicable to federal crimes, which requires that at least one of the con-
18    spirators have committed an "act to effect the object of the conspiracy." ¤ 371. The RICO con-
19
      spiracy provision, then, is even more comprehensive than the general conspiracy offense in ¤
20
      371Ó. (Salinas v. United States, 522 U.S. 52, 118 S. Ct. 469 (1997).
21

22
             Plaintiff pleaded enough facts suggesting conspiracy in her Complaint. Defendants Yelp
23

24
      Inc. and Jeremy Stoppelman have to read carefully General Allegations part of the Complaint to

25    make a decision whether there was a conspiracy or not. Besides, actions of Defendants Yelp Inc.,

26    and Jeremy Stoppelman were identical to the actions of Defendants Google LLC and Alphabet
27    Inc. - they all were engaged in the similar acts showing that there was a conspiracy. I would sug-
28    gest Defendants to read all facts regarding Defendants Google LLC and Alphabet Inc. as well.

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 1
      Moreover, Plaintiff has already established conspiracy under RICO (See analysis in section C of
 2
      this Opposition).
 3

 4

 5            K. Plaintiff has pleaded enough facts showing that Defendants Yelp Inc. was a place

 6    of public accommodation.
 7

 8            "Places of public accommodation" are limited to actual, physical places and structures,
 9
      and thus cannot include chat rooms, which are not actual physical facilities but instead are virtual
10
      forums for communication provided by AOL to its members.Ó (Noah v. AOL Time Warner Inc.,
11
      261 F. Supp. 2d 532 (E.D. Va. 2003). In addition, ¤ 2000a(b)(4) emphasizes the importance of
12
      physical presence by referring to any "establishment ... which is physically located within" an
13

14
      establishment otherwise covered, or "within ... which" an otherwise covered establishment "is

15    physically located.Ó Id. ÒWhile the case law concerning places of public accommodation under

16    the ADA is more abundant than that under Title II, it is not entirely uniform. Yet, a detour into
17    the parallel ADA cases is instructive and ultimately supports the conclusion that "places of public
18    accommodationÓ must consist of, or have a clear connection to, actual physical facilities or struc-
19
      tures.Ó Id.
20

21
              Conclusions of Defendants Yelp Inc. and Jeremy StoppelmanÕs Counsel that the concept
22
      of the "places of public accommodationÓ do not apply to online Platforms are factually and legal-
23

24
      ly wrong. Court didnÕt recognize as places of public accommodation chat rooms - the rooms,

25    where people gather to chat and share their ideas. Yelp Inc. is not a chat room, it is a platform for

26    the business establishments, consumers do not chat at Yelp Inc. platform, they rate performance
27    and products of the businesses, businesses also can advertise themselves and get an online pres-
28


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 1
      ence at Yelp Inc. platform. Moreover, many of those business establishments are physical busi-
 2
      nesses with physical location, Yelp Inc. itself has two physical addresses.
 3

 4

 5           L. Plaintiff pleaded enough facts in her complaint to establish violation of the Cali-

 6    fornia Business and Professional Code, Section 16720, et seq. and Defendants allegations
 7    that conspiracy was not established are baseless.
 8

 9
             ÒSince it is often difficult to show direct evidence of a combination or conspiracy, con-
10
      certed action may be inferred from circumstantial evidence of the defendant's conduct and course
11
      of dealings. (Blair Foods, Inc. v. Ranchers Cotton Oil, 610 F.2d 665, 671 (9th Cir. 1980).
12

13

14
             Facts provided by the Plaintiff infer conspiracy. Defamatory reviews were placed in

15    PlaintiffÕs account at Yelp platform every time people were unhappy with her tweets, afterwards

16    Yelp Inc. left the most vicious reviews in her account despite her complaints. Another platform
17    responsible for online business ratings and appearance - Google LLC and Alphabet Inc. were
18    manipulating her business account to defraud the public about her services, kicked her business
19
      account into unverified status several times, placed a Denmark law firmÕs business account not
20
      present in San Diego in Google search results for the name of her law firm, in the similar manner
21
      didnÕt remove defamatory reviews from her account and advised her over the phone that Òshe is
22
      better to close her accountÓ. Besides, as Plaintiff explained in Section C of Arguments part of
23

24
      this Opposition she successfully established conspiracy under RICO.

25

26

27

28


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 1
             M. Plaintiff has pleaded enough facts to establish Unfair Competition and Defen-
 2
      dantsÕ references to First Amendment rights are invalid, as the speech at DefendantsÕ plat-
 3
      form was commercial and in any case unprotected speech.
 4

 5

 6           1. Speech at DefendantsÕ platform was a commercial speech
 7

 8           ÒTo determine whether speech is commercial, the Third Circuit requires courts to assess
 9
      whether the speech (i) is an advertisement, (ii) refers to a specific product or service, and (iii) ,
10
      whether the speaker has an economic motivation for the speech.Ó (Facenda v. N.F.L. Films, Inc.,
11
      542 F.3d 1007, 1017 (3dCir. 2008). ÒThe Supreme Court held that although the pamphlets did
12
      not expressly propose a commercial transaction, they were nonetheless properly classified
13

14
      as commercial speech based on the following attributes: the pamphlets were a form of advertis-

15    ing, they referred to specific commercial products, and they were distributed by the manufacturer

16    for economic purposes.Ó (Jordan v. Jewel Food Stores, Inc., 743 F.3d 509 (7th Cir. 2014)
17

18           Three defamatory reviews, which Yelp Inc. and Jeremy Stoppelman intentionally left in
19
      PlaintiffÕs business account, were commercial speech. They all allege that they were clients of
20
      the Plaintiff and they didnÕt get the service or were provided with a bad one, they all have rec-
21
      ommendations to other consumers not to use services of the Plaintiff. In doing so, all these re-
22
      views were advertisements, referred to specific product or service and were economically moti-
23

24
      vated. Moreover, Defendants were engaged themselves in distributing commercial speech when

25    they decided to place into PlaintiffÕs account formerly deleted reviews of the users with new date

26    and PlaintiffÕs past dated comments under them, their actions therefore were not merely editorial.
27

28


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 1
                2. Speech at DefendantsÕ Platform was a defamatory, harassing and obscene speech
 2

 3
                Ócriminal harassment" is unprotected where it "constitutes true threats or speech that is
 4

 5    integral to proscribable criminal conduct.Ó (United States v. Sryniawski, 48 F.4th 583 (8th Cir.

 6    2022). Intimidation in the constitutionally proscribable sense of the word is a type of true threat,"
 7    where the speaker intends to place the victim "in fear of bodily harm or death." Id. The govern-
 8    ment does not maintain that Sryniawski's e-mails contained a true threat against Parris or his
 9
      family, but suggests three categories of harassing speech that are unprotected: speech integral to
10
      criminal conduct, defamatory speech, and obscenity.Ó Id. ÒSpeech is only actionable as defama-
11
      tion if it "implies the allegation of undisclosed defamatory facts.Ó (Leighty v. Spokane Cnty.,
12
      2:24-CV-0165-TOR (E.D. Wash. Jul. 16, 2024). ÒBut Prager's theory of UCL liability for fraudu-
13

14
      lent conduct is not subject to section 230 immunity, in that the act that would give rise to liability

15    is not the exercise of publishing discretion itself, but defendants' misrepresentations regarding

16    their exercise of that discretionÑthat is, misrepresentations about the character of defendants'
17    service.Ó (Prager Univ. v. Google LLC, 85 Cal. App. 5th 1022, 301 Cal. Rptr. 3d 836, (2022).
18

19
                Reviews placed at DefendantsÕ platform were defamatory, they suggested facts, which
20
      have never happened, some reviews implied true threats - ÒWe will come after youÓ, some were
21
      obscene - PlaintiffÕs profile picture was manipulated and kept for a quite long time at the Defen-
22
      dantsÕ platform in order to harass and intimidate the Plaintiff. PlaintiffÕs requests to remove them
23

24
      were greeted with complete ignorance and rejection. PlaintiffÕs phone number was also ultimate-

25    ly blocked by the Defendants. Therefore, Defendants have no protection of 1st Amendment

26    Rights!
27

28


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 1
             N. Plaintiff pleaded enough facts on discrimination under Unruh Act
 2

 3
             ÒThe Unruh Civil Rights ActÕs purpose is Òto secure to all persons equal access to public
 4

 5    accommodations Ôno matterÕÓ the personal characteristics. (Harris v. Capital Growth Investors

 6    XIV, 52 Cal.3d 1142, 278 Cal. Rptr. 614, 805 P.2d 873 (Cal. 1991). It is intended to eradicate ar-
 7    bitrary, invidious discrimination in business establishments, and stand Òas a bulwark protecting
 8    each person's inherent right to Ôfull and equalÕ access to Ôall business establishments.Ó (Angelucci
 9
      v. Century Supper Club, 41 Cal.4th 160, 59 Cal. Rptr. 3d 142, 158 P.3d 718 (Cal. 2007). ÒTo
10
      state a claim under the Unruh Civil Rights Act, a plaintiff must allege the defendant is a business
11
      establishment that intentionally discriminates against and/or denies plaintiff full and equal treat-
12
      ment of a service, advantage, or accommodation based on plaintiff's protected status.Ó (Liapes v.
13

14
      Facebook, Inc., 95 Cal.App.5th 910, 313 Cal. Rptr. 3d 330 (Cal. Ct. App. 2023). ÒIntentional dis-

15    crimination requires ÒÔwillful, affirmative misconduct.ÕÓ (Koebke v. Bernardo Heights Country

16    Club, 36 Cal.4th 824, 31 Cal. Rptr. 3d 565, 115 P.3d 1212 (Cal. 2005).
17

18           As it was discussed in this Opposition before Defendants do not have protection of Sec-
19
      tion 230 of CDA on many grounds, they actions towards Plaintiff were deliberate malicious at-
20
      tempt to destroy her business. Defendants were engaged in multiple wire fraud to achieve this
21
      purpose and acted in furtherance of the racketeering activity together with other Enterprise
22
      members. Complaint pleads a lot of predicate acts showing a clear intent and motive of the En-
23

24
      terprise to destroy Plaintiff. Complaint also pleads a lot of facts showing how Plaintiff belongs to

25    the protected class under Unruh Act, and how Enterprise persecuted other members of the pro-

26    tected class in the past, it shows that Defendants were well informed about the situation and
27    chose to stay with perpetrators despite her arguments. Complaint also pleaded enough facts
28    showing how Defendants joined Enterprise and primarily were engaged in harassing and dis-

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 1
      criminating against her. Plaintiff successfully established cause of action for discrimination under
 2
      Unruh Act.
 3

 4

 5           O. Plaintiff pleaded enough facts for Civil Harassment and her claims are not

 6    barred by First Amendment as the speech at DefendantsÕ platform was unprotected speech
 7

 8           ÒÉcriminal harassment" is unprotected where it "constitutes true threats or speech that is
 9
      integral to proscribable criminal conduct.Ó (United States v. Sryniawski, 48 F.4th 583 (8th Cir.
10
      2022). Intimidation in the constitutionally proscribable sense of the word is a type of true threat,"
11
      where the speaker intends to place the victim "in fear of bodily harm or death." Id. The govern-
12
      ment does not maintain that Sryniawski's e-mails contained a true threat against Parris or his
13

14
      family, but suggests three categories of harassing speech that are unprotected: speech integral to

15    criminal conduct, defamatory speech, and obscenity.Ó Id. ÒSpeech is only actionable as defama-

16    tion if it "implies the allegation of undisclosed defamatory facts.Ó (Leighty v. Spokane Cnty.,
17    2:24-CV-0165-TOR (E.D. Wash. Jul. 16, 2024). ÒBut Prager's theory of UCL liability for fraudu-
18    lent conduct is not subject to section 230 immunity, in that the act that would give rise to liability
19
      is not the exercise of publishing discretion itself, but defendants' misrepresentations regarding
20
      their exercise of that discretionÑthat is, misrepresentations about the character of defendants'
21
      service.Ó (Prager Univ. v. Google LLC, 85 Cal. App. 5th 1022, 301 Cal. Rptr. 3d 836, (2022).
22

23

24
             It is hilarious how Yelp Inc. now appeals to First Amendment and claims that it is a pub-

25    lic forum. However, Yelp Inc. didnÕt keep at the PlaintiffÕs account speech of the Òconcerned

26    publicÓ that she is a racist, that she is biased and so on, Yelp Inc. deleted all reviews about her
27    alleged character and kept only those, where people claimed that they were her customers and
28    she took their money and didnÕt provide a service. Yelp Inc. kept those reviews after her account

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 1
      was shelled multiple times by unidentified gang of people, after it was put on notice that she does
 2
      not know those people, after some identical reviews were immediately taken down by other plat-
 3
      forms - AVVO and BBB. Defendant Yelp for comparison can look into PlaintiffÕs Avvo account
 4

 5    and try to find there those reviews. Mysteriously, only Yelp Inc. ÔeditorialÒ decisions allowed

 6    those reviews. Some of those reviews were true threat, which were kept by Yelp Inc. despite
 7    PlaintiffÕs numerous complaints, claiming that Ôthey will come after herÒ, some were obviously
 8    obscene - her photos were manipulated and distorted and placed as her businessÕ profile picture
 9
      in violation of PlaintiffÕs copyright and privacy rights, Plaintiff was also deprived the opportuni-
10
      ty to remove those photos herself. Her requests to close her account immediately were ignored
11
      by Yelp Inc. and in return she was blackmailed to pay a past due invoice, which has never been
12
      sent to her despite her requests. If Defendant Yelp Inc. and Jeremy Stoppelman think that they
13

14
      can harass businesses owners to regulate their political speech, then we have to be very con-

15    cerned about our 1st Amendment rights. People unhappy with PlaintiffÕs tweets could complain

16    on her to Twitter, block her on Twitter, write their opinion in Twitter, but coming to her business
17    page and claiming that they were her customers and she robbed them out of their money is not
18    something which 1st Amendment protects. Defendants were engaged in targeted harassment in
19
      order to force Plaintiff into silence on the request of the Armenian Enterprise.
20

21
             P. Plaintiff pleaded enough facts for IIED and NIED
22

23

24
             Ò A cause of action for intentional infliction of emotional distress exists when there is (1)

25    an extreme and outrageous conduct by the defendant with the intention of causing, or reckless

26    disregard of probability of causing, emotional distress; (2) the plaintiffÕs suffering of extreme
27    and emotional distress, and (3) actual and proximate causation of the emotional distress by the
28    defendantÕs outrageous conduct. A defendantÕs conduct is outrageous when it is so extreme as to

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 1
      exceed all bounds of that usually tolerated in a civilized community. And the defendantÕs conduct
 2
      must be intended to inflict injury or engaged with in realization that the injury will
 3
      result.Ó (Hughes v. Pair, 46 Cal.4th 1035, 1050-51 (2009). ÒWe have repeatedly recognized that
 4

 5    the negligent causing of emotional distress is not an independent tort, but the tort of negligence.

 6    The traditional elements of duty, breach of duty, causation, and damages apply. Whether a defen-
 7    dant owes a duty of care is a question of law. Its existence depends upon the foreseeability of the
 8    risk and a weighing of policy considerations for and against imposition of liability. (Burgess v.
 9
      Superior Court, 2 Cal.4th 1064, 9 Cal. Rptr. 2d 615, 831 P.2d 1197 (Cal. 1992).
10

11
             As it was analyzed before Defendants do not have protections of Section 230 of CDA be-
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      cause they are sued under criminal law. They engaged in content creation by sending to the plain-
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      tiff formerly removed reviews with her own past dated comments under them, they violated their

15    own TOS by refusing to close PlaintiffÕs account and keeping it open to harassment and bullying,

16    they completely ignored good faith requirement under their contract with Plaintiff and under
17    Statute (See analysis under Section G of the present Opposition) . Since they donÕt have protec-
18    tion of section 230 of CDA they are liable for both IIED and NIED. Their actions were outra-
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      geous, malicious, and intentional.
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             R. Plaintiff is not bared by DefendantsÕ TOS, because Defendants violated their own
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      TOS and in any case racketeering activity is not governed by TOS.
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             See analysis under Section G of the present Opposition.

25

26    V. CONCLUSION
27           Based on the foregoing, Plaintiff Aynur Baghirzade requests the Court grant her motion
28    and deny DefendantsÕ motion to dismiss PlaintiffÕs FAC with prejudice.

      OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS MOTION FOR DISMISSAL
      PURSUANT TO F.R.C.P. RULE 12(B)(6); MEMORANDUM OF POINTS AND AUTHORITIES
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            DATED: September 25, 2024
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 5                                                PLAINTIFF: Aynur Baghirzade

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                                                   Aynur Baghirzade
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      OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS MOTION FOR DISMISSAL
      PURSUANT TO F.R.C.P. RULE 12(B)(6); MEMORANDUM OF POINTS AND AUTHORITIES
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